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 EXHIBIT AA
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 AFL-CIO, et al.,

 Plaintiffs,

 v.                                                          Case No. 1:25-cv-00339-JDB
 DEPARTMENT OF LABOR, et. al.,

 Defendants.



                          DECLARATION OF

I,                    , PA-C, declare as follows:

      1. I am over eighteen years old, of sound mind, and fully competent to make this

declaration. This declaration is based on my personal knowledge, information, and belief. I

submit this declaration in support of Plaintiffs’ Renewed Motion for a Temporary Restraining

Order.

      2. I have been a board-certified physician assistant (PA) for over twenty years. I currently

practice internal medicine with a subspecialty in endocrinology at Kaiser Permanente Fontana

Medical Center and have been employed at Kaiser since 2016.

      3. I have been a dues paying member of United Nurses Associations of California/Union of

Health Care Professionals (UNAC/UHCP) for about seven years. I initially became involved as a

steward, and nearly two years ago I began working as a floating staff representative with the

union, representing new Physician Assistant members in Northern California. UNAC/UHCP is

affiliated with the American Federation of State, County, and Municipal Employees (AFSCME).

      4. UNAC/UHCP represents more than 40,000 registered nurses and health care

professionals in the state of California who work on the frontlines of care in our communities. A
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critical part of UNAC/UHCP’s mission is access to equitable health care and universal coverage,

because as care providers, we have seen the consequences of delayed diagnosis and treatment. As

part of this mission, UNAC/UHCP has advocated for the expansion of Medicare coverage and

increased access to services funded under Medicaid.

   5. The privacy and confidentiality of Medicare beneficiaries’ data is an important

component of UNAC/UHCP’s healthcare advocacy efforts. Privacy is an essential component of

our patients’ ability to access quality healthcare and see improved health outcomes, which is

central to UNAC/UHCP’s mission as a coalition of health care providers who work towards

higher-quality and safer care in our communities.

   6. As a PA in endocrinology, I typically see patients who have thyroid disorders and

diabetes. I also frequently see patients who are in the process of receiving gender-affirming care.

I typically have long-term relationships with my patients, as their treatment generally requires

significant follow-up care.

   7. It is routine, and very important, in my practice to receive private information about my

patients. Patients frequently share with me everything from their home address, telephone

number, and medical record numbers, to their complete health history, medications, and lab

results, which I note in our computerized charting system. Essentially, my patient’s entire

experience with healthcare is captured within their charts.

   8. A significant amount of this private information is health information protected under

federal law. I take this charge to maintain privacy very seriously in my practice as a PA. We

receive annual training which covers the confidentiality of medical records. My office shreds all

paper documents to ensure no confidential patient information escapes. We all work very hard to

ensure the privacy and trust of our patients.
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   9. It is my understanding that the office at which I work routinely submits confidential

patient information to the Department of Health and Human Services (HHS). My office

frequently submits information, including identifying information and private health information,

to the Centers for Medicare and Medicaid Services (CMS) for insurance reimbursement

purposes.

   10. Patients come to my office with the assumption that everything we discuss will be kept

confidential. This understanding is essential to the patient-provider relationship; without this

level of trust, I may not receive the critical information I need to diagnose and treat effectively. If

a patient does not come in to the office with the expectation of privacy, they may not be open

about their medical history or symptoms they are having. This makes it difficult, if not

impossible, to properly care for my patients.

   11. The critical nature of confidentiality is especially true regarding my patients receiving

gender-affirming care. This is often an extremely sensitive subject, and many patients may be

afraid to seek necessary healthcare if they knew their information would not remain confidential.

   12. If DOGE has access to the sensitive personal and health information submitted to HHS, it

will have a significant impact on my ability to effectively care for my patients. It will weaken the

relationship of trust I have built with my patients and make it extremely difficult to practice

medicine to the best of my ability.

   13. In addition, I understand that, as a provider, some of my personal information is also

stored in HHS records related to reimbursement requests for my services. I am also concerned

about unauthorized access to records containing billing records with my name and other personal

information, particularly because some of those records would indicate that I provide care, such

as gender-affirming care, that is the subject of significant scrutiny and is often badly
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mischaracterized, including by some who are now in the Federal Government. I would feel more

comfortable providing this care if I had assurances that the personal information disclosed in

connection with the reimbursement process remains protected.

Executed on February 11, 2025
